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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


PROFECTUS TECHNOLOGY LLC,                           §
            Plaintiff                               §
                                                    §                 W-20-CV-00101-ADA
-vs-                                                §
                                                    §
GOOGLE LLC,                                         §
                    Defendant                       §
                                                    §


                                NOTICE OF TRIAL PROCEDURES

       In anticipation of the upcoming jury trial, the Court notifies the parties of the following

trial procedures.

                                I. GENERAL TRIAL PROCEDURES

       A. Jury Selection

       Jury Selection will begin at 9:30 am, Thursday, September 30, 2021 in Courtroom #1 in

the United States District Court, 800 Franklin, Waco, Texas 76701.

       Seven jurors will be selected for this trial. Each party will have four peremptory strikes.

The Court will provide the parties an opportunity to do a general and individual voir dire at the

Court’s discretion. The Court will provide the parties with a diagram of the room that identifies

the jurors and their seat assignments.


       B. Trial

       Trial will start right after the jurors are selected. The parties shall jointly provide notebooks

for the jurors on the first day of trial before the trial begins. The notebooks shall be provided to a

Court staff, who will deliver the notebooks to the jurors.
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        Each party will have 10 hours of trial time. Each party’s first 30 minutes of opening

arguments and first 30 minutes of closing arguments will not be counted towards the party’s

allocated trial time.

        There will be no bench conferences in the presence of the jury during trial. If necessary,

the Court may take a short recess from the trial to conduct any bench conferences and resolve any

issues in the absence of the jury.

        The parties shall use electronic exhibits for any exhibit displayed and/or given to the jury,

unless providing or displaying an exhibit electronically is impractical or restricted under the

protective order. For the sake of clarity, any witness, counsel, staff, and the Court may each have

his or her own set of physical exhibits. However, physical exhibits will not be passed to the jury

absent approval by the Court.


        C. Audio Access for the Public

        Although seating will remain available to the public in the courtroom, an audio feed will

be made available to public. The public is permitted to listen to the trial proceedings by telephone.

Any individuals who are interested in observing the trial by telephone shall contact the Court’s

Courtroom Deputy for access information. The public is not permitted to observe the trial via video

streaming. Recording of the proceedings in any way is not permitted.


        D. Video Access for Party-Affiliated Individuals

        A live video feed of the trial proceedings will be provided to party-affiliated individuals to

accommodate any party-affiliated individuals who choose to observe the trials remotely and any

witnesses who choose to testify remotely. This live feed may be accessed by the following party-

affiliated individuals outside of the Courthouse:

        a)    The parties’ outside counsel, staff, and consultants;
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       b)    The parties’ in-house counsel disclosed under the Protective Order;


       c)    Witnesses on either party’s witness list to the extent permitted under the Protective

             Order and Pre-trial Order. A fact witness (other than a designated corporate

             representative) may not observe the testimony of other witnesses until after that

             witness has completed his/her testimony and has been excused by the Court. Expert

             witnesses and corporate representatives may observe the testimony of other witnesses

             before they testify—although corporate representatives may be precluded from

             observing certain sealed testimony because of confidentiality reasons.


       If any witness of either party choses to testify remotely during the trial, the party shall work

with the Court’s IT staff to make any arrangement such that the witness can testify remotely using

the Court’s Zoom platform.


       E. Remote Participation Decorum

       Remote trial participants and observers should silence electronic devices other than the

devices necessary to their remote participation, close unnecessary computer programs or

applications (such as email or calendar notifications), and take steps to remove or minimize

anything in their remote workspace that might distract from the integrity of the proceedings.

Remote participants and observers who will not be testifying or presenting matters during the

proceedings shall mute their microphones and deactivate their cameras. Participants and observers

using multiple devices in a single workspace to access the trial should avoid audio feedback issues

by using the microphone and speakers on only one device at a time, or by using headphones.

       The Court requires all remote participants to do their best to maintain professionalism in

order to conduct a fair and efficient trial. Anyone appearing virtually shall dress in the same
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manner as they would if they physically appeared in the courtroom. If party members, member of

the press, or members of the public become disruptive, the Court may further restrict who is able

to view the trial. Remote trial participants and observers should conduct themselves in the same

way they would if they were physically present in the courtroom.


                            II. COVID -19 SAFETY PROTOCOL

        In order to provide a safe environment for all parties and other trial participants,

 the Court has approved the following COVID-19 safety protocol, which the Court employs

 to maximize safety and social distancing during trial.


       A. Pre-Entry Health Assessments

       All individuals who enter the Courthouse shall be expected to adhere to CDC guidelines

for COVID-19.

           1. Temperature Checks

       Consistent with existing protocols, the Courthouse personnel will perform a temperature

check on all individuals entering the Courthouse through no-contact thermal imaging. Any person

exhibiting a temperature greater than 100.4o will not allowed in the building.

           2. COVID-19 Safety Questionnaire

        Self-assessment health signage is already posted conspicuously around the

 Courthouse. Such signs direct any person who fails the self-assessment not to enter the

 building. In addition, any individual who answers “yes” to any of the following questions

 shall inform the Court’s personnel before entering the Courthouse:


            a) In the last three weeks, have you been diagnosed with COVID-19?
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            b) Are you currently experiencing new or worsening signs of any of the

                following symptoms not otherwise attributable to a condition other than

                COVID-19 (such as pregnancy, dehydration, rigorous exercise, etc.):

                difficulty breathing or shortness of breath; loss of the sense of taste or smell;

                gastrointestinal discomfort including vomiting or diarrhea; fever; cough;

                fatigue; headache; or muscle or body aches; or runny nose?


            c) In the last two weeks, have you been in close contact with someone who

                was diagnosed with COVID-19 or whom you believe likely has COVID-

                19? You have been in close contact if you have (a) been within 6 feet of

                someone who has COVID-19 for a combined total of 15 minutes or more

                over a 24-hour period or (b) provided care at home to someone who is sick

                with COVID-19 or (c) had direct physical contact (e.g., hugged or kissed)

                with someone who has COVID-19 or (d) shared eating or drinking utensils

                with someone who has COVID-19 or (e) been sneezed on or coughed on

                by someone who has COVID-19.


        B. Face Covering and Social Distancing

        Any individual who enters the Courthouse shall wear a face covering and shall keep

his/her face covering on except when he/she is speaking or testifying during the trial

proceeding. Further, all individuals who enter the Courthouse are instructed to adhere to

social distancing requirements, including keeping at least 6-feet of distance from other

participants and limiting Courthouse elevator occupancy to a maximum of two riders at a

time.
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      C. Partial Sequestration of the Jury

       To eliminate the need for jurors to leave the courthouse for lunch during the trial,

the Court will enter a partial jury sequestration order and will provide lunch to the jurors.

Lunch for the jurors will be provided at the Court’s expense.




IT IS SO ORDERED.



SIGNED this 23rd day of September, 2021.




                                        ALAN D ALBRIGHT
                                        UNITED STATES DISTRICT JUDGE
